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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------          X
                                                :
                                                : No. 1:20-cv-10300-JSR
PAUL NICKLEN, et al.,
                                                :
                          Plaintiffs,           :
                                                : ECF Case
                                                :
                   -against-                    :
                                                :
                                                :
MASHABLE INC., et al.,                          :
                          Defendants.           :
                                                :
-------------------------------------           X

       REPLY MEMORANDUM OF LAW IN SUPPORT OF THE SINCLAIR
        DEFENDANTS’ MOTION TO DISMISS THE SECOND AMENDED
            COMPLAINT PURSUANT TO FED. R. CIV. P. 12(b)(6)




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         The Sinclair Defendants1, respectfully submit this reply in further support of their motion

to dismiss the Second Amended Complaint. As discussed in Sinclair’s opening memorandum,

its embedding of a social media post containing the Video in an Article published by its various

affiliates does not violate Nicklen’s exclusive display right. Moreover, because the embedded

Video is placed in an Article includes the post as part of its reporting about the viral spread of

that post, to the extent Sinclair can be said to have used the Video at all, it was fair use and

therefore inactionable. For these reasons, Plaintiff’s claims should be dismissed.

    I.      Under the Server Test, Sinclair’s Embedding of the Video Cannot Support a
            Claim of Copyright Infringement

         Plaintiff does not contest that, if this Court adopts the “server test” articulated by the

Ninth Circuit in Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146 (9th Cir. 2007), his claim

fails. See Opposition (“Opp.”), Dkt. No. 88, at 15-16. Instead, he argues only that the server test

should not govern here for a variety of reasons, each of which is unavailing.

            A. The Server Test Should Apply Because Sinclair Neither Had a Copy of Nor
               Transmitted the Video As Required by the Copyright Act

         Plaintiff’s main substantive argument against the server test is that it improperly made the

“physical location” of the allegedly infringed work the primary factor in determining liability for

copyright infringement in the context of embedded content on the internet. Opp. at 8-11. This is

an overly simplistic reading of what the Ninth Circuit actually held in Perfect 10. The court,

relying on the plain language of the Copyright Act, found that a “computer owner that stores an

image as electronic information and serves that electronic information directly to the user . . . is

displaying the electronic information in violation of a copyright holder's exclusive display right.”



1
 All capitalized terms have the same definitions as those in the Sinclair Defendants’ opening
memorandum, Dkt. No. 85 (“Mem.”).



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508 F.3d at 1159 (emphases added) (citations omitted). An embedder fails this test in two

separate ways. First, its computers “do not store the photographic images” and thus it “does not

have a copy of the images for purposes of the Copyright Act.” Id. at 1160. Second, it does not

show or transmit the copy to a user at all – it provides “HTML instructions [which] are lines of

text, not a photographic image.” Id. at 1161. Those instructions “give[] the address of the image

to the user’s browser” and the “bowser then interacts with the computer that stores the infringing

image.” Id.; see also Flava Works, Inc. v. Gunter, 689 F.3d 754, 761 (7th Cir. 2012) (providing

HTML instructions to a browser regarding where to access a copyrighted work is not tantamount

to “transmitting or communicating” that work). These distinctions are critical because, under the

plain language of the Copyright Act, an entity can only violate the public display right when it

possesses a “copy” of the work and “shows” or “transmits” that copy. See 17 U.S.C. § 101

(defining “display” to require “show[ing] a copy” and “publicly” to require “transmi[ssion] or

other[] communicat[ion].”) Sinclair therefore cannot have violated the display right here

because it both never made a copy of the Video and never transmitted a copy of it. It only

provided lines of text pointing a user’s computer in the correct direction.

       Plaintiff criticizes this distinction as elevating the “internal mechanics of how the content

is stored and retrieved” over the viewer’s actual experience on Sinclair’s websites. Opp. at 8.

But embedding is not merely “internal mechanics” – it also directly impacts the actual display of

a work in at least two ways. First, the entity on whose server the content resides controls

completely how that content is presented when embedded. Thus, in this case, the embedded

Video displays not just the Video itself, but also the name of the user who posted it to Facebook,

the number of views it has on Facebook, and Facebook’s logo. Second Am. Compl. (“SAC”),

Dkt. 72 at Ex. 5. Facebook, not Sinclair, decided that those elements would be part of the




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embedded Video. Second, the entity on whose server the content resides controls completely

whether that content is displayed at all anywhere. In this case, for example, if Facebook (or

Plaintiff as a user of the Facebook site) decides for any reason to remove the Video from its

server, it will no longer appear on any of Sinclair’s websites.

           B. The Supreme Court’s Decision in Aereo Is Inapposite, and in Any Event
              Supports Sinclair, Not Plaintiff

       In seeking to undermine Perfect 10, Plaintiff argues that the Supreme Court’s decision in

ABC v. Aereo, Inc., 573 U.S. 431 (2014) functionally overruled Perfect 10 by establishing that

“it is the practical, functional perspective, and not technicalities, that governs whether a

particular mode of content delivery is infringing or not.” Opp. at 13. Therefore, according to

Plaintiff, it is “ultimately the viewer’s perception that matters” in making that determination. Id.

Plaintiff’s reading of Aereo is flawed.

       As an initial matter, no court has ever suggested that Aereo, which involved entirely

separate facts, actually or functionally overruled Perfect 10. Indeed, even the Goldman case

which Plaintiff primarily relies on acknowledged that, at the time it was decided more than four

years after the Supreme Court decided Aereo, “the ‘Server Test’ is settled law” in the Ninth

Circuit. Goldman v. Breitbart News Network, LLC, 302 F. Supp. 3d 585, 590-91 (S.D.N.Y.

2018). And courts in the Ninth Circuit and elsewhere have continued to acknowledge the

validity of Perfect 10 even after Aereo. See, e.g., Live Face on Web, LLC v. Biblio Holdings

LLC, 2016 U.S. Dist. LEXIS 124198, at *12 (S.D.N.Y. Sept. 13, 2016); Grady v. Iacullo, 2016

U.S. Dist. LEXIS 51584, at *14-25 (D. Colo. Apr. 18, 2016).

       Moreover, the legal issue before the Supreme Court in Aereo was entirely different than

what is before the Court here. In Aereo, the alleged infringement involved a system of thousands

of miniature antennas that captured and stored broadcast TV signals containing copyrighted



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content and allowed subscribers to view them over the internet. The content was saved “on

Aereo’s hard drive,” not a third-party server, and Aereo itself transmitted these copies to its

users. 573 U.S. at 436, 448. On those facts, the Court handed down a “limited holding” cabined

to the specific technology at issue, and expressly disclaimed any application of the decision to

“technologies not before [the Court].” Id. at 449-50.2

           C. Plaintiff’s Attempts to Analogize this Case to Goldman Are Misplaced

       Finally, Plaintiff’s Opposition contends that the facts of the instant case more closely

resemble Goldman than Perfect 10. Opp. at 5-8. Plaintiff attempts to do so in two ways: first, he

argues that Perfect 10 is inapplicable because the defendant in that case was a search engine—

Google—rather than a news website; and second, he argues that the fact that a viewer of the

Article had to click on the video to play it is irrelevant because “users were not actively

searching for starving polar bear videos” when they viewed the Article and because “the display

right has already been infringed” before the viewer ever clicked on the Video. Id. at 7, 8

(emphasis in original). Neither argument has any merit.

       With respect to Plaintiff’s “search engine” argument, he is correct that Perfect 10

involved a search engine, but wrong to conclude that the Ninth Circuit’s decision was based in

any relevant part on that fact.3 To the contrary, the Ninth Circuit held Google could be liable for

infringing content that was in fact hosted on Google’s servers, while it determined that Google


2
  Also, the holding in Aereo was largely premised on the Court’s conclusion that the system at
issue was functionally indistinguishable from cable television systems that Congress had
expressly intended to bring within the ambit of the Copyright Act when it was revised in 1976.
473 U.S. at 443-44. Here, there is no allegation or suggestion that embedding is likewise the
same as cable TV retransmission.
3
  Notably, this section of Plaintiff’s Opposition quotes repeatedly from the District Court’s
opinion in Perfect 10, and virtually ignores the appellate opinion, while at the same time stating
that the quotes represent “the Ninth Circuit’s reasoning.” Opp. at 5-6.



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could not be liable for content hosted elsewhere. Perfect 10, 508 F.3d at 1160-61. Google’s

operation of a search engine had nothing to do with that conclusion—rather, as explained above,

it was based on a careful determination of who, under the plain text of the Copyright Act and the

undisputed facts regarding how embedding works, was actually responsible for “showing” or

“transmitting” a “copy” of the content at issue. Id. at 1161.4

       Plaintiff’s various assertions regarding why and how viewers might come upon the

Video—a supposedly “critical factual distinction” between this case and Perfect 10, Opp. at 7, is

not only irrelevant, it is also pure speculation found nowhere in the Second Amended Complaint,

raised for the first time in this brief, and therefore not properly before the Court. See, e.g., Ace

Arts, LLC v. Sony/ATV Music Publ’g, LLC, 56 F. Supp. 3d 436, 450-51 (S.D.N.Y. 2014). And

Plaintiff’s argument that viewers’ “volitional act” of clicking on the Video is irrelevant to the

analysis is also meritless. Opp. at 7-8. Plaintiff appears to be arguing that as soon as a viewer

sees the very first frame of the Video as it appears embedded on a website, infringement has

happened, regardless of whether the viewer actually watches any more of the Video. Id. But

case law in this district is clear that the appearance of a single frame of a copyrighted video is a

de minimis use and therefore non-actionable. See, e.g., Rudkowski v. Mic Network, Inc., 2018

U.S. Dist. LEXIS 49975, at *9-10 (S.D.N.Y. Mar. 23, 2018) (single screenshot from a video was


4
 Plaintiff claims that “a recent Ninth Circuit district court embraced Goldman and found there
was ‘no case applying the Perfect 10 server test’ outside the context of search engines[.]” Opp. at
5 (quoting Free Speech Sys., LLC v. Menzel, 390 F. Supp. 3d 1162, 1172 (N.D. Cal. 2019).)
This is inaccurate. The Menzel court acknowledged the existence of Goldman but denied
defendant’s motion to dismiss because, unlike here, there was no record evidence of whether the
defendant’s servers had or had not hosted the allegedly infringing content. Menzel at 1172. The
court did not say that there was “no case applying Perfect 10 outside of the context of search
engines,” but rather that the defendant had “not provided” any such case. Id. In fact, courts have
applied Perfect 10 outside the context of search engines. See, e.g., Biblio Holdings, 2016 U.S.
Dist. LEXIS 124198, at *12 (acknowledging that Perfect 10 could apply to a website operator);
Grady, 2016 U.S. Dist. LEXIS 51584, at *14-16 (applying Perfect 10 to individual defendant).



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a de minimis use); Kanongataa v. ABC, No. 16 Civ. 7382 (LAK) (S.D.N.Y. Feb. 15, 2017), Dkt.

No. 34 (Hearing Tr.) (same).

             D. The Server Test Does Not Create a “Free Buffet” of Content

          Underlying many of Plaintiff’s arguments seems to be the notion that, if this Court adopts

the server test, copyright holders will be powerless to control their work on the Internet. See,

e.g., Opp. at 10 (“[T]he server test creates a ‘free buffet of content.’”). In reality, it was Plaintiff

himself who chose to post his Video on a public social media page, knowing full well that

Facebook offered embedding tools. Indeed, Plaintiff did so in 2017—that is, prior to Goldman’s

rejection of the server test, when Plaintiff would have had no reason to suspect that embedding

was not fully protected under applicable law. Second Am. Compl. ¶ 5(a). To this day, Plaintiff

retains the ability to remove the Video from Facebook—and by extension every website that has

embedded it—with the click of a button. His repeated refrain about the supposedly dire

consequences of the server test conveniently ignores these facts.5

    II.      Sinclair’s Use of the Video Was a Fair Use

          Plaintiff’s arguments against a finding of fair use fare no better than its arguments against

application of the server test. Because, as explained in Sinclair’s opening memorandum and

further elucidated below, all of the fair use factors weigh in favor of fair use, there has been no

infringement and the Second Amended Complaint should therefore be dismissed.




5
  Plaintiff does not dispute that if his direct infringement claim fails, either because Sinclair only
embedded the Video or because the use of the Video was a fair use, his claims for vicarious
infringement, contributory infringement, and inducement of infringement must also fail. See
Mem. at 20; see also CVS Pharmacy, Inc. v. Press Am., Inc., 377 F. Supp. 3d 359, 383 (S.D.N.Y.
2019) (“[A] party may be deemed to have conceded an argument by failing to address it in its
briefing.”)



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           A. Because Sinclair’s Use was Transformative, the First Fair Use Factor Favors
              a Finding of Fair Use

       Plaintiff offers three arguments as to why the character and purpose of the use weigh

against a fining of fair use. First, he argues that, because the bulk of the Article’s text consists of

quotes from his Facebook page and his interview with National Geographic, it could not be

transformative. Opp. at 17-20. Second, he asserts that, because Sinclair is a for-profit company,

the purpose and character of the use weighs against fair use. Id. at 20. Third, he claims that

Sinclair’s purported “bad faith” in embedding the Video in the Article tips this factor against a

finding of fair use. Id. at 20-21. All of these arguments are baseless.

       Plaintiff begins by contending that, because the Article quotes from his own public

statements accompanying his posting of the Video on Facebook, it cannot be transformative. He

offers no legal support for this obviously incorrect proposition. In fact, the Article’s inclusion of

Plaintiff’s quotes supports the conclusion that the Article made transformative use of the Video,

because it demonstrates that the Article was reporting on the post itself. As Sinclair pointed out

in its brief, multiple courts in this Circuit have concluded that reproduction of social media posts

containing copyrighted material is transformative where the reproduction was in the context of

reporting about the social media posts themselves. Mem. at 13-15 (citing Walsh v. Townsquare

Media, Inc., 464 F. Supp. 3d 570 (S.D.N.Y. 2020) and Boesen v. United Sports Publ’ns, Ltd.,

2020 U.S. Dist. LEXIS 203682 (E.D.N.Y. Nov. 2, 2020)). The same is true here.6



6
  Plaintiff also alleges that Sinclair “incorrectly and sloppily” refers the Video as a “photograph.”
Opp. at 18. While the “commission of errors in borrowing copyright material” can be considered
in making a fair use determination, the Second Circuit has been clear that “[o]nly where the
distortions were so deliberate, and so misrepresentative of the original work that no reasonable
person could find them to be the product of mere carelessness would [it] incline toward rejecting
a fair use claim.” Maxtone-Graham v. Burtchaell, 803 F.2d 1253, 1261 (2d Cir. 1986). An
allegation of “sloppiness” does not meet this high bar.



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         Plaintiff acknowledges these cases, but attempts to distinguish them by arguing that they

concerned “incidental” uses of the work in the articles at issue. Opp. at 19. He misunderstands

the use of the word “incidental” in Walsh and Boesen. As the Boesen court explained, in each of

those cases the “article did not use plaintiff’s photograph ‘as a generic image’” of the person who

was being discussed. Instead, the photograph was published as part of an embedded social

media post because the fact of the dissemination of the post “was the very thing the Article was

reporting on.” Boesen, 2020 U.S. Dist. LEXIS 203682, at *8-9 (citations omitted). Rather than

provide any principled basis for distinguishing these cases, Plaintiff simply asserts that Sinclair’s

use was not “incidental” because showing the Video “was the point of Sinclair’s use.” Opp. at

19. But the Article itself, which self-evidently was reporting on a social media phenomenon just

as the defendants were in Walsh and Boesen, belies Plaintiff’s position.

         Plaintiff next contends that the first factor weighs against fair use because Sinclair and its

affiliates are for-profit entities. Opp. at 20. But Plaintiff once again does not even attempt to

grapple with the well-established law, cited by Sinclair, that the fact that a publisher is a for-

profit entity is largely irrelevant to the analysis of the first factor, particularly where the use at

issue is transformative. Mem. at 15 n.11.

         Finally, Plaintiff asserts that the first factor cuts in its favor because Sinclair acted in “bad

faith.” Opp. at 20-21. But the only “bad faith” Plaintiff identifies is Sinclair’s failure to obtain a

license for the Video. Id. Courts in this district have repeatedly rejected that exact argument,

because a defendant has no obligation to obtain a license where a use is fair. See, e.g., Sands v.

What’s Trending, Inc., 2020 U.S. Dist. LEXIS 236019, at *11 (S.D.N.Y. Dec. 14, 2020); Harbus

v. Manhattan Inst. for Policy Rsch., 2020 U.S. Dist. LEXIS 74568, at *13 (S.D.N.Y. Apr. 27,

2020).




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           B. Because the Video Was Published and Factual, the Second Fair Use Factor
              Favors a Finding of Fair Use

       With respect to the second fair use factor, Plaintiff argues that, because he is a well-

known professional photographer who shot the Video “under challenging conditions” during one

of his “celebrated but expensive” trips to the Arctic, this factor should weigh in favor of fair use.

Opp. at 21. Plaintiff does not, however, offer any support for his contention that the

“challenging” circumstances in which a video was obtained have any bearing on the analysis of

this factor. Plaintiff concedes, moreover, that the Video functions as “visual evidence of issues

which concern both him and the public,” and that it indisputably contains “informational

elements.” Id. But he makes no attempt to acknowledge the numerous cases, cited by Sinclair,

which hold that where a work conveys factual information for a non-artistic purpose, the second

factor weighs in favor of fair use. Mem. at 17.

       Plaintiff also ignores the undisputed fact that he published the Video on a social media

account publicly available to anyone with a computer and an internet connection. Such

publication cuts in favor of a finding of fair use. See Mem. at 16 (citing cases). Indeed, the one

case Plaintiff does cite held that, where a published work contains both informational and

creative elements, the second factor weighs in favor of fair use. BWP Media USA, Inc. v. Gossip

Cop Media, Inc., 196 F. Supp. 3d 395, 408-09 (S.D.N.Y. 2016).

           C. Because Sinclair Used No More of the Video Than Necessary, the Third Fair
              Use Factor Favors a Finding of Fair Use

       Plaintiff asserts that the third fair use factor swings in its favor because Sinclair allegedly

embedded the entire (1 minute) Video, rather than just a small portion of it. Opp. at 22-23.

Plaintiff further argues that Sinclair has somehow made an “admission”—by quoting case law in

an entirely different context—that it was only appropriate to use a small portion of the work. Id.




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A portion of the Video would not have been a reasonable substitute because then Sinclair could

not have accomplished its “journalistic objective of describing a social media story and

providing readers with the relevant posts.” Walsh, 464 F. Supp. 3d at 586. Sinclair used only as

much of Nicklen’s Video as was already included in his Facebook post; “in other words, no more

was taken than necessary.” Id. (internal marks and citations omitted).

           D. Because Sinclair’s Use Did Not Usurp the Market for the Video, the Fourth
              Fair Use Factor Favors a Finding of Fair Use

       Plaintiff argues that the fourth fair use factor weighs against a finding of fair use because

the use of the Video in the Article supposedly “negatively affected the markets for the Video.”

Opp. at 23. Plaintiff’s argument misunderstands the nature of the fourth factor, which asks

“whether the copy brings to the marketplace a competing substitute for the original[.]” Capitol

Records, LLC v. ReDigi Inc., 910 F.3d 649, 662 (2d Cir. 2018), cert. denied, 139 S. Ct. 2760

(2019). In other words, the question is whether potential licensees of the Video will instead use

Sinclair’s Article. The answer to that question is obviously no. See Mem. at 19-20.7

                                          CONCLUSION

       For the foregoing reasons, and the reasons set forth in its opening brief, Sinclair

respectfully requests that this Court dismiss the Second Amended Complaint, with prejudice.




7
  At the end of last week, the Second Circuit handed down a new fair use opinion in The Andy
Warhol Foundation for The Visual Arts, Inc. v. Goldsmith, 2021 U.S. App. LEXIS 8806 (2d Cir.
Mar. 26, 2021). The opinion clarifies the line between transformative and derivative works in
the context of primary and secondary works that “share the same overarching purpose (i.e., to
serve as works of visual art).” Id. at *21. As such, it has little if any application here, where the
purpose of the Article—to report on the viral phenomenon of the Video—is fundamentally
different from the purpose for which Plaintiff created the Video.



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Dated: March 29, 2021
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